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Attorneys for the Foreign Representative

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


 In re:                                                   Chapter 15

 PERFORADORA ORO NEGRO, S. DE R.L.                        Case No. 18-11094 (SCC)
 DE C.V., et al.
                                                          (Jointly Administered)
 Debtors in a Foreign Proceeding.


                               FIFTH STIPULATION AND ORDER

          This Stipulation (the “Stipulation”) is entered on this 24th day of February 2021 (the “Entry

Date”), by and between José Gerardo Badín Cherit (“Badín”), in his capacity as Foreign

Representative (the “Foreign Representative”) of Integradora de Servicios Petroleros, S.A.P.I. de

C.V. (“Integradora”) and Perforadora Oro Negro, S. de R.L. de C.V. (“Perforadora” and, together

with Integradora, the “Debtors”) and the Defendants (as hereinafter defined) (collectively, the

“Parties”), providing for, subject to the approval of the Court, the extension of the stay of all

deadlines in the above-captioned case (the “Chapter 15 Case”), including, without limitation, in

the Adversary Proceedings (as defined below) (collectively and together with the Chapter 15 Case,

the “Chapter 15 Proceedings”) until the Termination Date (as defined below).
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                                                RECITALS

       WHEREAS, in September 2017, the Debtors and certain of their affiliates initiated

voluntary concurso mercantil proceedings, insolvency proceedings in México (the “Concurso

Mercantil”);

       WHEREAS, on April 20, 2018 (the “Petition Date”), the Debtors filed their voluntary

petition for bankruptcy relief under chapter 15 of title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York

(the “Court”);

       WHEREAS, on June 6, 2019, Gonzalo Gil-White (“Gil-White”) filed, personally and in

his capacity as the then-Foreign Representative of the Debtors, an adversary proceeding against

Alp Ercil, Alterna Capital Partners, LLC, AMA Capital Partners, LLC, Andres Constantin

Antonius-Gonzalez, Asia Research And Capital Management Ltd., CQS (UK) LLP, Fintech

Advisory, Inc., Deutsche Bank Mexico, S.A., Institución de Banca Multiple, García González y

Barradas Abogados, S.C., GHL Investments (Europe) Ltd., John Fredriksen, Kristan Bodden,

Maritime Finance Company Ltd., Noel Blair Hunter Cochrane, Jr, Oro Negro Primus Pte., Ltd.,

Oro Negro Laurus Pte., Ltd., Oro Negro Fortius Pte., Ltd., Oro Negro Decus Pte., Ltd., Oro Negro

Impetus Pte., Ltd., Paul Matison Leand, Jr., Roger Alan Bartlett, Roger Arnold Hancock, Seadrill

Limited,1 Ship Finance International Ltd., and Does 1-100 (collectively, the “First Adversary

Proceeding Defendants”), which is identified by the Court as Adversary Proceeding No. 19-01294

(the “First Adversary Proceeding”);

       WHEREAS, on June 24, 2019, Gil-White filed a second adversary proceeding, personally


1
       Seadrill Limited is a debtor in a proceeding under chapter 11 of the Bankruptcy Code in Case No. 21-30427
       (DRJ) (Bankr. S.D. Tex.). Seadrill Limited’s agreements pursuant to this Stipulation shall not be deemed to
       be a waiver of any right that might be asserted by Seadrill Limited in its capacity as a debtor or debtor in
       possession.


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and in his capacity as the then-Foreign Representative of the Debtors, against Contrarian Capital

Management, LLC and Nordic Trustee, AS (collectively, the “Second Adversary Proceeding

Defendants”), which is identified by the Court as Adversary Proceeding No. 19-01301 (the

“Second Adversary Proceeding”);

       WHEREAS, on September 26, 2019, Fernando Perez-Correa (“Perez-Correa”) filed,

personally and in his capacity as the then-Foreign Representative of the Debtors, an adversary

proceeding together with Jose Antonio Cañedo-White, Carlos Williamson-Nasi, Gonzalo Gil-

White, and Miguel Angel Villegas-Vargas (together with Perez-Correa, the “Third Adversary

Proceeding Plaintiffs,” and, together with Gil-White, the “Non-Debtor Plaintiffs”) against Asia

Research and Capital Management Ltd., GHL Investments (Europe) Ltd., Oro Negro Primus Pte.,

Ltd., Oro Negro Laurus Pte., Ltd., Oro Negro Fortius Pte., Ltd., Oro Negro Decus Pte., Ltd., Oro

Negro Impetus Pte., Ltd., and Ship Finance International Ltd. (collectively, the “Third Adversary

Proceeding Defendants,” and, together with the First Adversary Proceeding Defendants and the

Second Adversary Proceeding Defendants, the “Defendants”), which is identified by the Court as

Adversary Proceeding 19-01360 (the “Third Adversary Proceeding,” and, together with the First

Adversary Proceeding and the Second Adversary Proceeding, the “Adversary Proceedings”);

       WHEREAS, on January 3, 2020 the Court entered the Third Supplemental Order Granting

Recognition of Foreign Main Proceedings [Docket No. 267], recognizing Badín as the Foreign

Representative of the Debtors;

       WHEREAS, on February 11, 2020, the Court granted Badín’s request that all deadlines in

the Chapter 15 Proceedings be stayed until March 16, 2020 [Docket No. 276];

       WHEREAS, on February 21, 2020, Nordic Trustee, AS and NT Refectio XX AS (“NT

Refectio”) submitted an offer (the “Prior Bid”) to the Second District Judge of Civil Matters in




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Mexico City in the Concurso Mercantil (the “Mexican Judge”), pursuant to Article 207 of Ley de

Concursos Mercantiles (the “Concurso Law”), the Mexican insolvency and bankruptcy law,

pursuant to which NT Refectio offered to purchase certain assets of the Debtors (the “Assets”),

including the claims of the Debtors which are the subject of the Adversary Proceedings;

        WHEREAS, on March 9, 2020, the Court entered the Stipulation and Order [Docket

No. 280] providing for the extension of the stay of all deadlines in the Chapter 15 Proceedings,

including, without limitation, the Adversary Proceedings, from March 9, 2020 to no earlier than

ninety (90) days following March 9, 2020 (i.e., June 8, 2020);2

        WHEREAS, on June 4, 2020, this Court entered the Second Stipulation and Order

[Docket No. 280], which extended the stay of all deadlines in the Chapter 15 Proceedings to no

earlier than ninety (90) days following June 1, 2020 (i.e., August 31, 2020);3

        WHEREAS, on August 31, 2020, this Court entered the Third Stipulation and Order

[Docket No. 288], which extended the stay of all deadlines in the Chapter 15 Proceedings to no

earlier than ninety (90) days following August 31, 2020 (i.e., November 30, 2020);4

        WHEREAS, the Mexican Judge subsequently dismissed the Prior Bid, consistent with

the opinion of Mexico’s Federal Institute of Specialists for Insolvency Procedures (Instituto

Federal de Especialistas de Concursos Mercantiles or “IFECOM”) that the Prior Bid should be

dismissed due to it (a) not specifying a precise bid amount and (b) incorporating a credit bid of

certain claims that were subject to appeal in Mexico;

        WHEREAS, on November 26, 2020, AMA Capital Partners, LLC submitted a new bid

for the Assets, including the claims of the Debtors which are the subject of the Adversary



2
    See Fed. R. Bankr. P. 9006(a)(1).
3
    See Fed. R. Bankr. P. 9006(a)(1).
4
    See Fed. R. Bankr. P. 9006(a)(1).


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Proceedings;

          WHEREAS, on November 30, 2020, this Court entered the Fourth Stipulation and

Order [Docket No. 290], which extended the stay of all deadlines in the Chapter 15 Proceedings

to no earlier than ninety (90) days following November 28, 2020 (i.e., February 26, 2021); and

          WHEREAS, the Parties have discussed and agreed to a further stay of all deadlines in the

Chapter 15 Proceedings, including, without limitation, the Adversary Proceedings, from the Entry

Date to and through the date that is thirty (30) days following the Entry Date (the “Termination

Date”).

                                         STIPULATION

          NOW, THEREFORE, the Parties hereby STIPULATE AND AGREE as follows:

          1.     The stay of all deadlines in the Chapter 15 Proceedings, including, without

limitation, the Adversary Proceedings, will be deemed extended from the Entry Date to and

through the Termination Date.

          2.     A telephonic hearing will be held before the Court on March 18, 2021 at 10:00

a.m. (the “Hearing”) to consider the request of the Foreign Representative for a further extension

of the stay of all deadlines in the Chapter 15 Proceedings beyond the Termination Date set forth

herein. Any objections to such relief shall be filed on the docket of Case No. 18-11094 on or

before March 5, 2021 at 4:00 p.m., and any replies to such objection(s) shall be filed on or before

March 11, 2021 at 4:00 p.m. The Hearing will be conducted via Court Solutions LLC. Parties

may register to listen or to participate at www.court-solutions.com.

          3.     This Stipulation may be executed in counterparts, each of which shall be deemed

an original, and evidence of this Stipulation may be exchanged by fax or by electronic transmission

of a scanned copy of the signature pages or by exchange of originally signed documents.




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       4.      Each person who executes this Stipulation represents and warrants that he or she is

duly authorized and has the requisite authority to execute and deliver this Stipulation on behalf of

such Party and to bind his or her respective Party to the terms and conditions of this Stipulation.

       5.      This Stipulation does not waive any of the undersigned defendants’ available

defenses and objections to these proceedings, including without limitation, available defenses on

the grounds of lack of personal jurisdiction, insufficiency of process, and insufficiency of service

of process.

       6.      This Stipulation shall be entered on the respective dockets for each of the Adversary

Proceedings, as defined above.

       7.      This Stipulation constitutes the entire agreement between the Parties with respect

to the matters addressed herein and may not be modified except in a writing signed by the Parties.



                                       [Signatures Follow]




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       IN WITNESS WHEREOF, the Parties hereto have caused this Stipulation to be executed

as of the day and year written below.


Dated: February 24, 2021

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                                         -and-

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                                         International Ltd., Kristan Bodden, and Paul
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                                      Gonzalez


SO ORDERED, this 1st day of March, 2021


                                      /S/ Shelley C. Chapman
                                      HONORABLE SHELLEY C. CHAPMAN
                                      UNITED STATES BANKRUPTCY JUDGE




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